






TEXAS COURT OF APPEALS, THIRD DISTRICT, AT AUSTIN






NO. 03-12-00097-CR






Daniel Mendoza, Appellant


v.


The State of Texas, Appellee






FROM THE DISTRICT COURT OF BASTROP COUNTY, 21ST JUDICIAL DISTRICT

NO. 14,205, HONORABLE CHRISTOPHER DARROW DUGGAN, JUDGE PRESIDING




M E M O R A N D U M   O P I N I O N



		Appellant Daniel Mendoza's counsel has filed a motion to dismiss this appeal and
to withdraw from her representation of appellant.  Mendoza agreed to the form and substance of
the&nbsp;motion with his signature.  We grant the motion and dismiss the appeal.  Tex. R. App. P. 42.2(a).
Counsel's motion to withdraw is granted.


						                                                                                     

						Jeff Rose, Justice

Before Chief Justice Jones, Justices Pemberton and Rose

Dismissed on Appellant's Motion

Filed:   April 18, 2012

Do Not Publish


